PRoB.12
‘R,v,;),;gs} Case 2:03-cr-20005-.]DB Document 231 Filed 06/09/05 Page 1 0f5 Page|D 314

UNITED STATES DISTRICT COURT
for
WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. KYLE BLACK Docket No.

 

Petition on Probation and Supervised Release fica

COMES NOW NICOLE D. PETERSON . PROBATI()N OFFICER OF THE COURT presenting

an official report upon the conduct and attitude of Kyle Black who was placed on supervision by the Honorable

J. Daniel Breen sitting in the Court at Memphis, Tennessee , on the 29th day of .lanuag, QHQ_OA, who fixed the

period of supervision at Two §2) Years* , and imposed the general terms and conditions theretofore adopted by
the Court and also imposed special conditions and terms as follows:

(l) The defendant shall serve a period of five (5) months horne confinement (Completed)

(2) The defendant shall participate in drug testing and treatment and mental health counseling as directed by the
probation oflice.

* Terrn of Supervised Release began on August 6, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

(!f short insert here; if lengthy write on separate sheet and attach)

SEE ATTACHED

PRAYING THAT THE COURT WILL ()RDER a SUMMONS be issued for Kyle Black to appear before the
Court to answer charges of Violation of Supervised Release.

  
 
 

 

ORDER OF COURT l declare under penalty of perjury that the
41 foregoing is true and correct.
Considered and ordered this l day .
,---" /
of h]_wL, 20 93 , and ordered filed Executed
and a part of the records in the above on (%1,¢,,¢,¢, Cz _, 3003“'

CaS€ .

 

 

 

z MFMM_
‘ U. S. Probation Officer
U ' ed ates District Judge
Place: Me;n_phis. Tennessee

Th|s document entered on the docket sheet in complia ce
with ante 55 and/or azrb) nach on _M;L 2 5

RE: §§§Y¥S£B%?z?§§ék%§os%cumem 231 Filed 06/09/05 PageZotB Page|D 315

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant has violated the following conditions of his term of Supervised Release:
The defendant shall not commit another federal, state, or local crime.

On February 22, 2005, Mr. Black Was arrested on charges of Driving Under the lnfluence of Intoxicants/Drugs,
Reckless Driving, Public lntoxication, and Refusal to Submit to a BAC test. These charges are currently pending
Mr. Black’s next court date is June 23, 2005. At approximately 1:00 a.rn. February 22, 2005, arresting ofiicers
responded to an accident call at Mallory and Sea Isle. Mr. Black was apprehended at that location. According to
witnesses, he struck two parked cars With his vehicle and attempted to flee, but Was unable to as his car Was disabled
due to the impact Arresting ofiicers noted that Mr. Black was unable to stand on his own and had a strong odor of
intoxicant on his person. Mr. Black admitted to drinking over the course of the previous evening. He was transported
to the Regional Medical Center, signed a relilsal of treatment and Was then arrested and transported to 201 Poplar.
While at the Med, Mr. Black refused to submit to a breathalyzer test.

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled suhstance, or any paraphernalia related to any controlled
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as directed by
the probation officer to determine the use of any controlled substance

On August l3, 2004, Mr. Black signed a Voluntary Admission of Drug Use indicating that he had used marijuana
on or about August ll, 2004.

On February l4, 2005, Mr. Black signed a Voluntary Admission of Drug Use indicating that he had used cocaine
on or about February ll, 2005.

Mr. Black failed to report for random urinalyses as directed on February 16 and 23, April ll and 18, and May 16,
2005.

On or about February 22, 2005, Mr. Black used alcohol to excess Which is substantiated by his arrest for Driving
Under the Intluence of Intoxicantstrugs.

8.

9.

10.

11.

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Defendant Kyle Black, 8233 Solway, Memphis, TN 38119

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Docket Number (¥ear-Sequence-Defendant No.) 2:03CR20005-5
Districthffice Waetem District of Tennessee

Origina|Sentence Date 1 I 29 l 2004
month day year

Original District!Office

 

Original Docket Number (Year-Sequence-Defendant No.)

List each violation and determine the applicable grade {see §781.1}:

 

 

 

 

 

 

 

 

 

 

Vio|ationjsf Grade
New criminal conduct DUi, Refusa| to Submit to BAC, Public intoxication C
Drgg uselfailure to submit to urinalysis as directed C
Most Serious Grade of Vio|ation (s_eg §781.1(b)',l C
Crimina| History Category (_s_g§ §7B1.4(a}}74 l
Range of imprisonment (§gg §7B1.4{a)) 3-9 months
Statutory Maximum: 24 months
Sentencing Options for Grade B and C Violations Only (Check the appropriate box):
{ x } (a)lftheminimum term of im prisonment determined under §7B‘i .4 (Term of lmprisonment) is atleast one month but not more
than six months, §7|31.3©)(1) provides sentencing options to imprisonment
{ } (b)|ftheminirnum term of imprisonmentdetermined under §7B1 .4 (Term of !mprisonment) is more than six months but not
more than ten months, §7B1.3©)(2) provides sentencing options to im prisonment.
{ } ©)lftheminimurn term of imprisonment determined under §7B‘l .4 (Term of imprisonment) is more than ten months. no

sentencing options to imprisonment are available

 

 

 

 

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12. Unsatisf'led Conditions of Origina| Sentence

List any restitution. fine, comm unity confinem ent, horne detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §7B1.3(d)}:

 

 

 

 

 

Restitution ($) Community Continernent

Fine ($) Home Detention

Other intermittent Confinement
13. Supervised Release

if probation is to be revoked, determine the lengthl if any, of the term of supervised release according to the provisions of §§5D1 _‘l-
1-3{§§ §§751.3(9)(1)}-

Term: to years

if supervised release is revoked and theterm ofimprisonmentimposed is less than the maximum term of imprisonment imposab|e
upon revocation the defendant m ay, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment @ 18 U.S.C. §3583(e) and §731.3(9)(2)}.

Period of supervised release to be served following release from imprisonment

 

14. Departure

t_ist aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

15. Officia| Detention Adjustment {see §7B1.3(e}}: months days

 

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

RICT COURT- W=.ESTERl\l DlSTRlCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 231 in
case 2:03-CR-20005 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

